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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

ADVANCE MAGAZINE PUBLISHERS INC.,
d/b/a CONDÉ NAST,

                     Plaintiff,
                                                     Case No.: _______________
v.                                                   JURY TRIAL DEMANDED

GENTLEMEN’S QUALITY FASHIONS LLC,
d/b/a GQ FASHIONS TAMPA,

               Defendant.
______________________________________/

               COMPLAINT AND DEMAND FOR JURY TRIAL
      Plaintiff Advance Magazine Publishers Inc., d/b/a Condé Nast (“Condé Nast”

or “Plaintiff”), through its undersigned counsel, hereby brings this Complaint and

Demand for Jury Trial against Defendant Gentlemen’s Quality Fashions LLC, d/b/a

GQ Fashions Tampa (“GQ Fashions” or “Defendant”), and alleges as follows:

                                  THE PARTIES
      1.      Plaintiff is a corporation organized and existing under the laws of the

State of New York with an address of One World Trade Center, New York, New

York 10007.

      2.      Defendant is a corporation organized and existing under the laws of the

State of Florida with its principal place of business at 3010 East Hillsborough

Avenue, Tampa, Florida 33610. Upon information and belief, Defendant’s members
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are Ramesh Harjani and Asha Harjani, both of whom are residents of the State of

Florida.

                               NATURE OF ACTION
      3.     This is an action for trademark infringement, false designation of

origin, unfair competition, and dilution under the Trademark Act of 1946, as

amended (The Lanham Act, 15 U.S.C. § 1051, et seq.), and related state law causes

of action based on GQ Fashions’ use of “GQ,” “GQ Fashions,” and “GQ Fashions

Tampa” in connection with GQ Fashions’ retail clothing store and related retail store

services, in violation of Condé Nast’s established rights in its federally registered

marks and common law marks for related goods and services.

                          JURISDICTION AND VENUE
      4.     This Court has subject matter jurisdiction over this action pursuant to

15 U.S.C. § 1121 (actions arising under the Federal Trademark Act), 28 U.S.C. §

1331 (actions arising under Federal laws), 28 U.S.C. § 1338(a) (acts of Congress

relating to trademarks), 28 U.S.C. § 1367 (supplemental jurisdiction over the state

law causes of action), and 28 U.S.C. § 1332 (diversity jurisdiction where matter in

controversy exceeds $75,000 and is between citizens of different states). Condé Nast

seeks damages in excess of $75,000.00.

      5.     This Court has personal jurisdiction over GQ Fashions, because GQ

Fashions purposefully directed its activities at residents of Florida, and the litigation



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at issue results from injuries to Condé Nast that arise from or relate to those

activities. GQ Fashions is located in Tampa, Florida.

       6.    Venue properly lies in this Division under Middle District of Florida

Local Rule 1.04, because Hillsborough County has the greatest nexus with this

cause. GQ Fashions’ principal place of business is in, and the cause of action arose,

in Hillsborough County.

       7.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b),

because a substantial part of the events giving rise to the claims occurred in this

District.

                                      FACTS

                          CONDÉ NAST’S GQ MARK
       5.    Condé Nast is the owner of common law and registered trademark


rights in and to the marks GQ and GQ STYLE and the stylized marks



and            (collectively, the “GQ Mark”) in the U.S. and throughout the world.

       6.    Condé Nast has continuously used the GQ Mark in connection with its

magazine GQ (the “Magazine”) since at least as early as 1957. The Magazine is one

of the nation’s premier men’s lifestyle magazines.




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      7.     Condé Nast also uses the GQ Mark in connection with its corresponding

website, GQ.com (the “Website”). The Magazine and Website both cover the

subject matter of fashion, entertaining, food, beverages, travel, and culture.

      8.     In its Magazine and Website, and through its sponsored events

throughout the U.S., Condé Nast promotes the goods and services provided directly

by Condé Nast and by others using its GQ Mark.

      9.     In addition to the Magazine and the Website, Condé Nast has expanded

its use of the GQ Mark to other goods and services.

      10.    By way of example, Condé Nast has collaborated with Gap and a

number of other apparel brands and fashion designers to release a line of GQ-

approved men’s clothing, as shown below:




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      11.   Additionally, Condé Nast has licensed its GQ Mark to bars and

restaurants in markets outside the U.S. and has sponsored bar and cocktail events

within the U.S.

      12.   Further, Condé Nast uses the GQ Mark in connection with barbershop

services and grooming products. Condé Nast advertises and sells on its Website a

monthly grooming box, “GQ Grooming Box,” which includes award-winning

grooming products for men handpicked by GQ editors, as shown below:




      13.   As a result of Condé Nast’s longstanding and continuous use of the GQ

Mark, the GQ Mark has acquired substantial goodwill.

      14.   Since its first use of the GQ Mark, Condé Nast has spent significant

resources advertising, developing, and promoting the GQ Mark. The GQ Mark has

become synonymous with the upscale lifestyle products, apparel, clothing, and



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services that are contained within the editorial pages and advertisements published

in the Magazine and on the Website and promoted through events, contests, licensed

merchandise, and gatherings. As a result, millions of consumers in the U.S.

(including consumers in the State of Florida) and worldwide instantly associate

men’s clothing, fashion, apparel, and accessories with Condé Nast’s distinctive and

famous GQ Mark.

      15.   The GQ Mark has become well known in Florida, throughout the U.S.,

and abroad, as a symbol of Condé Nast’s goods and services.

      16.   Thus, Condé Nast has established, through continuous, long-term use

in commerce extensive common law trademark rights in the GQ Mark.

      17.   Additionally, Condé Nast is the owner of a number of trademark

registrations issued by the U.S. Patent and Trademark Office for marks incorporating

the GQ Mark, including, among others:

            (a)    Mark: GQ
                   U.S. Registration No.: 1298799
                   Filing Date: November 16, 1983
                   First Use: June 1, 1957
                   Use in Commerce: June 1, 1957
                   Registration Date: October 2, 1984
                   Register: Principal
                   Goods and Services covered: “Men’s Magazine Dealing with
                   Fashion, Entertainment and Other Topics of General Interest”
                   (International Class 16).

                  A true and correct copy of U.S. Registration No. 1298799 is
            attached as Exhibit 1. Condé Nast’s registration is valid and subsisting
            and has become incontestable.


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          (b)   Mark: GQ
                U.S. Registration No.: 2897762
                Filing Date: September 9, 2002
                First Use: September 1, 1994
                Use in Commerce: September 1, 1994
                Registration Date: October 26, 2004
                Register: Principal
                Goods and Services covered: “providing entertainment
                information about sports and leisure activities and news for men
                via the internet” (International Class 41); “providing information
                about men’s fashion via the internet” (International Class 45).

                A true and correct copy of U.S. Registration No. 2897762 is
          attached as Exhibit 2. Condé Nast’s registration is valid and subsisting
          and has become incontestable.

          (c)   Mark: GQ
                U.S. Registration No.: 3436617
                Filing Date: June 9, 2006
                First Use: August 1, 2007
                Use in Commerce: August 1, 2007
                Registration Date: May 27, 2008
                Register: Principal
                Goods and Services covered: “Promoting the goods and
                services of others by distribution and transmission of
                advertisements in the nature of audio, video, text messages and
                emails via wireless and mobile devices” (International Class 35);
                “Transmission of information through video and audio via digital
                networks and electronic communications networks”
                (International Class 38); and “Providing information about
                fashion via wireless mobile devices, satellite, cable and global
                computer networks” (International Class 45).

                A true and correct copy of U.S. Registration No. 3436617 is
          attached as Exhibit 3. Condé Nast’s registration is valid and subsisting
          and has become incontestable.




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          (d)   Mark: GQ
                U.S. Registration No.: 4642438
                Filing Date: October 24, 2013
                First Use: January 6, 2014
                Use in Commerce: January 6, 2014
                Registration Date: November 18, 2014
                Register: Principal
                Goods and Services covered: “Hair cutting; Hair cutting
                services; Hair salon services; Barber shop services; Barbering
                services” (International Class 44).

                A true and correct copy of U.S. Registration No. 4642438 is
          attached as Exhibit 4. Condé Nast’s registration is valid and subsisting.



          (e)   Mark:
                U.S. Registration No.: 2956663
                Filing Date: December 18, 2003
                First Use: April 1, 2002
                Use in Commerce: April 1, 2002
                Registration Date: May 31, 2005
                Register: Principal
                Goods and Services covered: “Printed matter, namely general
                interest magazines” (International Class 16); “Providing an
                online general interest magazine featuring topics of interest to
                men, namely, humor-oriented writings, politics, humor, pictures,
                sports, music, health, fitness, fashion, books and movies”
                (International Class 41).

                A true and correct copy of U.S. Registration No. 2956663 is
          attached as Exhibit 5. Condé Nast’s registration is valid and subsisting.




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          (f)   Mark:
                U.S. Registration No.: 1833829
                Filing Date: August 20, 1993
                First Use: 1983
                Use in Commerce: 1983
                Registration Date: May 3, 1994
                Register: Principal
                Goods and Services covered: “magazine dealing with fashion,
                entertainment, health, lifestyle and other topics of general
                interest, directed to men” (International Class 16).

                A true and correct copy of U.S. Registration No. 1833829 is
          attached as Exhibit 6. Condé Nast’s registration is valid and subsisting
          and has become incontestable.




          (g)   Mark:
                U.S. Registration No.: 5392161
                Filing Date: July 24, 2014
                First Use: May 15, 2017
                Use in Commerce: May 15, 2017
                Registration Date: January 30, 2018
                Register: Principal
                Goods and Services covered: “Briefcases; briefcase-type
                portfolios; tote bags; wallets; toiletry bags; luggage; backpacks;
                bags; luggage tags; grooming kits; shaving kits; dopp kits”
                (International Class 18).

                A true and correct copy of U.S. Registration No. 5392161 is
          attached as Exhibit 7. Condé Nast’s registration is valid and subsisting.




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           (h)   Mark:
                 U.S. Registration No.: 5392162
                 Filing Date: July 24, 2014
                 First Use: July 31, 2017
                 Use in Commerce: July 31, 2017
                 Registration Date: January 30, 2018
                 Register: Principal
                 Goods and Services covered: “Footwear, namely, shoes, boots
                 and sneakers” (International Class 25).

                 A true and correct copy of U.S. Registration No. 5392162 is
           attached as Exhibit 8. Condé Nast’s registration is valid and subsisting.

           (i)   Mark: GQ
                 U.S. Registration No.: 3925065
                 Filing Date: May 18, 2010
                 First Use: November 18, 2009
                 Use in Commerce: November 18, 2009
                 Registration Date: March 1, 2011
                 Register: Principal
                 Goods and Services covered: “Computer application software
                 for use with smartphones, PDA devices and tablet computers,
                 namely, software for accessing, viewing, interacting with and
                 downloading editorial and advertising content from magazines
                 and websites” (International Class 9).

                 A true and correct copy of U.S. Registration No. 3925065 is
           attached as Exhibit 9. Condé Nast’s registration is valid and subsisting
           and has become incontestable.




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           (j)   Mark:
                 U.S. Registration No.: 2695465
                 Filing Date: May 6, 2002
                 First Use: February 21, 2001
                 Use in Commerce: February 21, 2002
                 Registration Date: March 11, 2003
                 Register: Principal
                 Goods and Services covered: “Nightclubs” (International Class
                 41).

                 A true and correct copy of U.S. Registration No. 2695465 is
           attached as Exhibit 10. Condé Nast’s registration is valid and
           subsisting and has become incontestable.

           (k)   Mark: GQ STYLE
                 U.S. Registration No.: 5007105
                 Filing Date: November 23, 2015
                 First Use: March 11, 2014
                 Use in Commerce: March 11, 2014
                 Registration Date: July 26, 2016
                 Register: Principal
                 Goods and Services covered: “Periodically published magazine
                 featuring topics of interest to men” (International Class 16).

                 A true and correct copy of U.S. Registration No. 5007105 is
           attached as Exhibit 11. Condé Nast’s registration is valid and
           subsisting.




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           (l)   Mark: GQ STYLE
                 U.S. Registration No.: 5196535
                 Filing Date: November 23, 2015
                 First Use: August 31, 2016
                 Use in Commerce: August 31, 2016
                 Registration Date: May 2, 2017
                 Register: Principal
                 Goods and Services covered: “Providing an online non-
                 downloadable general interest magazine featuring topics of
                 interest to men” (International Class 41); and “Providing
                 information about fashion via digital networks” (International
                 Class 45).

                 A true and correct copy of U.S. Registration No. 5196535 is
           attached as Exhibit 12.

           (m)   Mark: GQ RECOMMENDS
                 U.S. Registration No.: 5611138
                 Filing Date: April 5, 2018
                 First Use: January 11, 2018
                 Use in Commerce: January 11, 2018
                 Registration Date: November 20, 2018
                 Register: Principal
                 Goods and Services covered: “Online retail store services
                 featuring apparel, hats, shoes, hair care products, watches,
                 fashion accessories, grooming products, electronics, sporting
                 goods” (International Class 35).

                 A true and correct copy of U.S. Registration No. 5611138 is
           attached as Exhibit 13. Condé Nast’s registration is valid and
           subsisting. Condé Nast’s registration is valid and subsisting.

                  Collectively, the marks in the registrations listed in (a)-(m) above
           shall be referred to as the “Registered Marks.”




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      18.    Condé Nast is also the owner of several allowed U.S. trademark

applications covering a wide range of goods and services, including:

             (a)    Mark: GQ
                    U.S. Application No.: 87/584068
                    Filing Date: August 25, 2017
                    Filing Basis: 1(b) Intent-to-Use
                    Notice of Allowance Date: February 19, 2019
                    Goods and Services covered: “Men’s apparel, namely, suits,
                    blazers, sport coats, pants, shorts, and active wear, namely,
                    sweatshirts and hoodies, bike shorts, athletic socks, tank tops,
                    track suits, wind resistant jackets, sweatbands; shirts; dress
                    shirts; t-shirts; under shirts; sweaters; outerwear, namely, coats
                    and jackets; underwear; swimwear; pajamas; loungewear; robes;
                    footwear, namely, sandals, slippers, and flip-flops; fashion
                    accessories, namely, neck ties, bow ties, pocket squares, belts,
                    suspenders, gloves, and socks” (International Class 25).

                   A true and correct copy of U.S. Application No. 87/584068 is
             attached as Exhibit 14.

      19.    Condé Nast’s Registered Marks, applied-for marks, and common law

marks incorporating the GQ Mark shall be hereinafter referred to collectively as the

“GQ Marks.”

      20.    Condé Nast has continuously used the GQ Marks in the United States

as an identifier of Condé Nast as the source and origin of high quality printed and

online publications, lifestyle products, apparel, clothing, and services.

      21.    Condé Nast has expended considerable time, resources, and effort in

promoting the GQ Marks and developing substantial goodwill associated therewith

throughout the United States.



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      22.     The GQ Marks are inherently distinctive when used in conjunction with

Condé Nast’s goods and services.

      23.     Due to the continual use of the GQ Marks by Condé Nast, the GQ

Marks have come to indicate a single source of goods and services. The GQ Marks

further have come to indicate Condé Nast as the single source of such quality goods

and services.

      24.     As a result of the long and exclusive use by Condé Nast of its GQ

Marks, the significant volume of sales under the GQ Marks, and the large amount of

money spent or foregone for advertising and promotion of its goods and services,

the GQ Marks have become, through widespread and favorable public acceptance

and recognition, an exclusive asset of substantial value as a symbol of Condé Nast,

its quality goods and services, and its goodwill.

      25.     Condé Nast and its use of the GQ Marks are well-known and famous.

            GQ FASHIONS’ INFRINGING USE OF THE GQ MARKS
      26.     Without Condé Nast’s knowledge or consent, and beginning long after

Condé Nast had established extensive and valuable goodwill in connection with the

GQ Marks, GQ Fashions commenced to use, and is currently using, in interstate

commerce and commerce affecting interstate commerce, the terms “GQ

FASHIONS” and “GQ FASHIONS TAMPA” (collectively, the “Infringing

Marks”) in connection with the sale, offering for sale, distribution, advertising, and



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promotion of its products and services, including without limitation, brick-and-

mortar and online retail clothing store services and related services.

       27.    Upon information and belief, GQ Fashions selected the Infringing

Marks solely because of the fame and reputation built up in the GQ Marks by Condé

Nast over many years and at great expense, and GQ Fashions’ sole intention in

selecting the mark was to trade on the goodwill of Condé Nast.

       28.    The dominant portion of the Infringing Marks is “GQ,” which is

identical to the GQ Marks.

       29.    GQ Fashions uses the term “GQ Fashions” and the Infringing Marks in

connection with marketing and providing its retail store services to citizens of

Florida and other states, and it advertises its retail store services to citizens of Florida

and other states via the Internet.

       30.    GQ Fashions operates a brick-and-mortar retail clothing store, “GQ

Fashions” in Tampa, Florida, and is engaged in the marketing and sale of a wide

variety of apparel, shoes, and accessories in commerce under the term “GQ

Fashions.”

       31.    In addition, GQ Fashions uses a nearly identical replica of Condé Nast’s


graphic mark                  on its signage outside of the brick and mortar store in

Tampa. This use of “GQ” intentionally seeks to unfairly capitalize on the fame,



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reputation, and goodwill created by Condé Nast and its GQ Mark. A photograph of

GQ Fashions’ storefront is attached as Exhibit 15 and appears as follows:




      32.     Upon information and belief, GQ Fashions owns and operates the

website located at the domain < http://g-q-fashions.edan.io/ > (the “Infringing

Website”). A true and correct copy of exemplary screenshots from the Infringing

Website is attached as Exhibit 16.

      33.     GQ Fashions displays the Infringing Marks prominently on the

Infringing Website.

      34.     Upon information and belief, GQ Fashions also owns and operates the

Facebook account under the handle “@GQFashions813” (accessible at

https://www.facebook.com/gqfashions813/). A true and correct copy of exemplary

screenshots from GQ Fashions’ Facebook page is attached as Exhibit 17.

      35.     Upon information and belief, GQ Fashions also owns and operates the

Twitter     account   under   the    handle    “@GQFashions813”    (accessible   at

https://twitter.com/gqfashions813/). A true and correct copy of exemplary

screenshots from GQ Fashions’ Twitter page is attached as Exhibit 18.




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      36.    Through its use of the Infringing Marks, including, but not limited to,

on the Infringing Website and its social media accounts, GQ Fashions seeks to

unfairly trade off the valuable goodwill and reputation built by Condé Nast in its GQ

Marks.

      37.    GQ Fashions is using “GQ” in U.S. commerce in connection with retail

store services featuring men’s apparel. These services are closely related to the

goods and services being offered by Condé Nast under its pre-existing GQ Marks.

      38.    As discussed in paragraph 14, Condé Nast uses its GQ Mark to indicate

its approval of a line of men’s clothing manufactured by other apparel brands and

fashion designers. Such use is similar to GQ Fashions’ use of “GQ” in promoting

and selling men’s apparel manufactured by apparel brands at its retail store.

Additionally, retail store services featuring men’s apparel are within Condé Nast’s

natural zone of business expansion.

      39.    Furthermore, Condé Nast intends to expand into the retail store services

market, as evidenced by its allowed trademark application no. 86/107748, filed on

November 1, 2013 respectively.

      40.    GQ Fashions is using Condé Nast’s GQ Marks without Condé Nast’s

authorization.




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        41.   GQ Fashions’ use of the Infringing Marks is specifically designed to

create an association or suggestion of affiliation between GQ Fashions and Condé

Nast.

        42.   GQ Fashions’ use of “GQ” intentionally seeks to unfairly capitalize on

the fame, reputation, and goodwill created by Condé Nast and its GQ Marks.

        43.   Furthermore, GQ Fashions’ activities have a substantial effect upon

Condé Nast’s interstate usage of its mark, good will, and sales. The continued,

unauthorized use of the Infringing Marks by GQ Fashions would subject the good

will and reputation of Condé Nast to the hazards of GQ Fashions’ business.

        44.   At a minimum, GQ Fashions’ target customers overlap with Condé

Nast’s target customers—men seeking fashionable clothing. As such, Condé Nast

and GQ Fashions compete for a common pool of customers.

        45.   GQ Fashions’ services rendered under the Infringing Marks are

overlapping and/or closely related to Condé Nast’s goods and services rendered

under its GQ Marks.

        46.   GQ Fashions’ use of the Infringing Marks so resembles Condé Nast’s

GQ Marks as to be likely, when used on or in connection with the services identified

above, to cause confusion, or to cause mistake, or to deceive.

        47.   GQ Fashions’ use of a nearly identical mark for services closely related

to Condé Nast’s goods and services offered under its GQ Marks is without authority



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or license from Condé Nast and creates a likelihood of confusion, deception, and

mistake.

      48.    GQ Fashions’ use of the Infringing Marks in interstate commerce to

advertise, promote, and sell its goods and services, including through its brick-and-

mortar store and the Infringing Website, was never approved, permitted or endorsed

by Condé Nast, and occurred after Condé Nast had established extensive and

valuable goodwill in connection with its goods and services identified by the GQ

Marks.

      49.    GQ Fashions’ use of the Infringing Marks in interstate commerce and

commerce affecting interstate commerce was and continues to be without Condé

Nast’s consent, and began long after Condé Nast had established extensive and

valuable goodwill in connection with its goods and services identified by the GQ

Marks.

      50.    Condé Nast’s first use in commerce of the GQ Mark predates GQ

Fashions’ first use of the Infringing Marks and, therefore, Condé Nast has priority

over GQ Fashions’ first use of the Infringing Marks.

      51.    Condé Nast’s customers, GQ Fashions’ customers, and the general

public are likely to be misled into believing that GQ Fashions’ services provided

under the Infringing Marks are provided, sponsored, or approved by Condé Nast.




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      52.    GQ Fashions has infringed Condé Nast’s GQ Marks by various acts,

including, without limitation, the advertising, promotion, and provision of retail

store services under the Infringing Marks.

      53.    Because GQ Fashions’ use of the Infringing Marks in interstate

commerce and commerce affecting interstate commerce was and continues to be

without Condé Nast’s consent, Condé Nast does not control the quality (or lack

thereof) of GQ Fashions’ goods and services.

      54.    Due to GQ Fashions’ use of the Infringing Marks to advertise, promote,

and sell goods and services of a lesser or unapproved quality than Condé Nast’s high

quality lifestyle products, apparel, clothing, and services, upon information and

belief, the public is likely to associate the lack of quality or lack of prestige in GQ

Fashions’ goods and services with Condé Nast’s goods and services.

      55.    On April 25, 2017, counsel for Condé Nast sent GQ Fashions a letter,

demanding that it cease and desist from all use of the Infringing Marks, including all

signage, marketing, promotional, and other printed materials for the GQ Fashions

store and Infringing Website, as well as all social media sites promoting the store.

      56.    Despite representing to Condé Nast that it would cease use of the

Infringing Marks, GQ Fashions has failed to comply with Condé Nast’s demands.

      57.    Condé Nast sent GQ Fashions a follow up letter on December 8, 2020,

again demanding that GQ Fashions cease and desist from use of the Infringing



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Marks, and that included an Order and Permanent Injunction relating to the GQ

Marks that this Court issued against another apparel company in Florida whose

owners, upon information and belief, are related—or at a minimum are familiar—to

GQ Fashions’ members and its counsel.

        58.   In response, counsel for GQ Fashions claimed GQ Fashions “has no

longer been known as ‘GQ Fashions’ since May 15, 2017.”

        59.   Subsequent inspection of the GQ Fashions store on February 23, 2021

confirms that defense counsel’s claim is inaccurate and that defendant has failed to

comply with Condé Nast’s demands as reflected in the images below taken on that

date.




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      60.    Therefore, GQ Fashions’ use of “GQ” in connection with GQ Fashions’

brick-and-mortar and online retail store and related services has been made

notwithstanding Condé Nast’s well-known and prior established rights in the GQ

Mark and with both actual and constructive notice of Condé Nast’s Registered Marks

under 15 U.S.C. § 1072.

      61.    GQ Fashions’ continued use of “GQ” constitutes malicious, willful,

fraudulent, and deliberate infringement.

      62.    In selecting and using a mark that includes the term “GQ” in connection

with the sale and offering of its goods and services, notwithstanding its actual

knowledge of Condé Nast’s rights, GQ Fashions has acted and continues to act with

wanton disregard for Condé Nast’s rights, and with the willful intent and purpose of

improperly taking or benefiting from the favorable reputation and valuable goodwill

which Condé Nast has established in the GQ Marks.

      63.    GQ Fashions’ actions have caused and continue to cause GQ Fashions’

services to be passed off as made, authorized, sponsored, or endorsed by or otherwise

connected or associated with Condé Nast and/or the Magazine.

      64.    The Infringing Marks utilized by GQ Fashions are a colorable imitation

of and confusingly similar to the GQ Marks.




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      65.    GQ Fashions activities are likely to cause confusion, to cause mistake,

and to deceive consumers and others as to the source, nature, and quality of the goods

and services offered by GQ Fashions.

      66.    GQ Fashions’ wrongful and illegal activities are likely to cause

confusion, and to cause mistake, and to deceive consumers and others as to the

origin, sponsorship, or approval of the goods and services offered by GQ Fashions

with or by Condé Nast.

      67.    GQ Fashions’ infringing activities have caused and, unless enjoined by

this Court, will continue to cause, irreparable injury and other damage to Condé

Nast’s business, reputation, and good will of an insidious and continuing sort that

cannot be adequately calculated or compensated in money damages. Condé Nast has

no adequate remedy at law.

                              CAUSES OF ACTION

                             COUNT I
                 FEDERAL TRADEMARK INFRINGEMENT
                     UNDER LANHAM ACT § 32(1)
      68.    Condé Nast hereby realleges and incorporates by reference the

allegations of paragraphs 1 to 67 of this Complaint as if fully set forth herein.

      69.    Condé Nast is the owner of valid Registered Marks, as described above.

      70.    GQ Fashions’ use of Condé Nast’s Registered Marks and colorable

imitations thereof in connection with the advertising and provision of its retail store



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services in commerce is likely to cause confusion, or to cause mistake, or to deceive,

in violation of § 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

      71.    GQ Fashions’ use of the Registered Marks and colorable imitations

thereof constitutes willful trademark infringement under § 32(1) of the Lanham Act,

15 U.S.C. § 1114(1), entitling Condé Nast to an injunction, treble its damages, and

GQ Fashions’ profits made from its infringing use of the GQ Mark, increased subject

to the principles of equity pursuant to the provisions of 15 U.S.C. §§ 1116 and 1117.

      72.    GQ Fashions’ intentional, deliberate, and willful use of the GQ Marks

and colorable limitations thereof with knowledge of Condé Nast’s rights in the

Registered Marks constitutes a willful violation of 15 U.S.C. § 1114(1) and renders

this case exceptional, entitling Condé Nast to an award of its attorneys’ fees pursuant

to 15 U.S.C. § 1117.

                                COUNT II
                       FEDERAL UNFAIR COMPETITION
                         UNDER LANHAM ACT § 43(a)
      73.    Condé Nast hereby realleges and incorporates by reference the

allegations of paragraphs 1 to 67 of this Complaint as if fully set forth herein.

      74.    Condé Nast owns valid registered and common law trademark rights in

the GQ Marks.

      75.    GQ Fashions’ use of the Infringing Marks is likely to cause confusion,

or to cause mistake, or to deceive as to the affiliation, connection, or association of



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GQ Fashions with Condé Nast, and as to the origin, sponsorship or approval of GQ

Fashions’ services by Condé Nast. Additionally, the public is likely to believe that

GQ Fashions’ services are provided by, or sponsored by, or approved by, or licensed

by, or affiliated with, or in some other way legitimately connected with Condé Nast,

all to Condé Nast’s irreparable harm and in violation of 15 U.S.C. § 1125(a).

      76.   GQ Fashions has used names and marks which are confusingly similar

to Condé Nast’s GQ Marks with the intent to deceive the public into believing that

goods and services offered or sold by GQ Fashions are made by, approved by,

sponsored by, or affiliated with Condé Nast.

      77.   GQ Fashions’ acts as alleged herein were committed with the intent to

pass off GQ Fashions’ goods and services as the goods and services of, approved by,

sponsored by, or affiliated with Condé Nast, and with the intent to deceive and

defraud the public.

      78.   GQ Fashions is knowingly infringing the GQ Marks in violation of the

trademark rights of Condé Nast.

      79.   The use by GQ Fashions of the Infringing Marks as described above, is

likely to cause confusion as to the source of GQ Fashions’ services and constitutes

a false designation of origin and unfair competition under § 43(a) of the Lanham

Act, 15 U.S.C. § 1125(a), entitling Condé Nast to an injunction, treble its damages,

and GQ Fashions’ profits made from its infringing use of the GQ Marks, increased



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subject to the principles of equity pursuant to the provisions of 15 U.S.C. §§ 1116

and 1117.

      80.    GQ Fashions’ intentional, deliberate, and willful use of the Infringing

Marks with knowledge of Condé Nast’s trademark rights in the GQ Marks,

constitutes a willful violation of 15 U.S.C. § 1125 and renders this case exceptional,

entitling Condé Nast to an award of its attorneys’ fees pursuant to 15 U.S.C. § 1117.

      81.    Pursuant to 15 U.S.C. § 1118 and equity, Condé Nast is entitled to

impoundment and destruction of infringing articles.

                         COUNT III
     FALSE ASSOCIATION AND FALSE DESIGNATION OF ORIGIN
                  UNDER LANHAM ACT § 43(a)
      82.    Condé Nast hereby realleges and incorporates by reference the

allegations of paragraphs 1 to 67 of this Complaint as if fully set forth herein.

      83.    GQ Fashions has caused products and services to enter interstate

commerce with the designation and mark “GQ” connected therewith.

      84.    GQ Fashions’ use of said designation and other representations

constitute a false association and false designation of origin which is likely to cause

confusion, to cause mistake, and to deceive as to the affiliation, connection, or

association of GQ Fashions with Condé Nast and as to the origin, sponsorship, or

approval of such goods and services by Condé Nast.




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      85.    GQ Fashions’ acts are in violation of 15 U.S.C. § 1125 in that GQ

Fashions has used in connection with its goods and services a false association, a

false designation of origin, or a false or misleading description and representation of

fact, which is likely to cause confusion, and to cause mistake, and to deceive as to

the affiliation, connection, or association of GQ Fashions with Condé Nast and as to

the origin, sponsorship, and approval of GQ Fashions’ goods, services, and

commercial activities.

      86.    GQ Fashions’ acts constitute false association and false designation of

origin, and have caused Condé Nast damages, including, without limitation, lost

profits, harm to reputation, and costs to remediate the confusion and harm to Condé

Nast’s goodwill and reputation caused by GQ Fashions.

      87.    The use by GQ Fashions of the Infringing Marks as described above, is

likely to cause confusion as to the source of GQ Fashions’ services and constitutes

false association and false designation of origin under § 43(a) of the Lanham Act,

15 U.S.C. § 1125(a), entitling Condé Nast to an injunction, damages sustained by

Condé Nast, treble its damages, GQ Fashions’ profits made from its infringing use

of the GQ Marks, and all costs necessary to remediate the false association and

designation of origin and their effects, increased subject to the principles of equity

pursuant to the provisions of 15 U.S.C. §§ 1116 and 1117.




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      88.    GQ Fashions’ intentional, deliberate, and willful use of the Infringing

Marks with knowledge of Condé Nast’s trademark rights in the GQ Marks,

constitutes a willful violation of 15 U.S.C. § 1125 and renders this case exceptional,

entitling Condé Nast to an award of its costs, expenses, and reasonable attorneys’

fees incurred in bringing the present action and prior attempts to remedy GQ

Fashions’ actions pursuant to 15 U.S.C. § 1117.

      89.    Pursuant to 15 U.S.C. § 1118 and equity, Condé Nast is entitled to

impoundment and destruction of infringing articles.

                             COUNT IV
                  DILUTION UNDER LANHAM ACT § 43(c)
      90.    Condé Nast hereby realleges and incorporates by reference the

allegations of paragraphs 1 to 67 of this Complaint as if fully set forth herein.

      91.    The GQ Marks are distinctive and famous marks within the meaning of

15 U.S.C. § 1125(c) by virtue of their inherent and acquired distinctiveness; the long

duration and wide extent of the GQ Marks’ use; the long duration, wide extent, and

wide geographic reach of advertising and publicity of the GQ Marks; the large

volume and wide geographic extent of sales of goods and services offered under

the GQ Marks; the high degree of actual recognition of the GQ Marks; and the

longstanding federal registrations of the GQ Marks.




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      92.    GQ Fashions’ use of Condé Nast’s GQ Marks, or variants thereof

similar to or likely to cause confusion with the GQ Marks, has been used in

commerce for GQ Fashions’ commercial gain.

      93.    Even if the Court finds GQ Fashions’ use of the Infringing Marks is not

likely to cause confusion with Condé Nast’s GQ Marks, GQ Fashions has engaged

in dilution by blurring because GQ Fashions’ use of the GQ Marks, or variants

thereof similar to or likely to cause confusion with the GQ Marks, has already caused

or is likely to cause an association arising from the similarity between GQ Fashions’

Infringing Marks and Condé Nast’s GQ Marks that impairs the actual or acquired

distinctiveness of Condé Nast’s GQ Marks.

      94.    GQ Fashions has engaged in dilution by tarnishment because GQ

Fashions’ use of the GQ Marks, or variants thereof similar to or likely to cause

confusion with the GQ Marks, has already caused or is likely to cause an association

arising from the similarity between GQ Fashions’ infringing use and Condé Nast’s

GQ Marks that harms the reputation and goodwill associated with Condé Nast’s GQ

Marks.

      95.    GQ Fashions adopted “GQ” well after the GQ Marks became famous.

      96.    The dominant portion of the Infringing Marks is “GQ,” which is

identical to the GQ Mark.




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      97.    GQ Fashions uses the Infringing Marks in commerce. Such use is

commercial in nature.

      98.    GQ Fashions’ use of the Infringing Marks in connection with its brick-

and-mortar and online retail store and associated services has caused, or is likely to

cause, dilution of Condé Nast’s GQ Marks. It is likely that the ordinary consuming

public of the U.S. will make an association arising from the similarity of the marks

that impairs the distinctiveness of the GQ Marks.

      99.    GQ Fashions’ use of the GQ Marks and marks incorporating GQ

constitutes dilution under 15 U.S.C. § 1125(c), and Condé Nast is entitled to an

injunction prohibiting such further use.

      100. GQ Fashions’ acts have caused Condé Nast damages, and Condé Nast

seeks judgment pursuant to 15 U.S.C. § 1117 for GQ Fashions’ profits made by GQ

Fashions through its unlawful acts, for the damages sustained by Condé Nast, and

for all costs necessary to remediate the unlawful acts and their effects, pursuant to

15 U.S.C. §§ 1116 and 1117.

      101. GQ Fashions willfully intended to trade on the recognition of Condé

Nast’s famous mark, entitling Condé Nast to treble its damages and GQ Fashions’

profits, increased subject to the principles of equity pursuant to the provisions of 15

U.S.C. § 1117.




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      102. GQ Fashions’ willful conduct renders this case exceptional, entitling

Condé Nast to an award of its costs, expenses, and reasonable attorneys’ fees

incurred in bringing the present action and prior attempts to remedy GQ Fashions’

actions pursuant to 15 U.S.C. § 1117.

      103. Pursuant to 15 U.S.C. § 1118, Condé Nast is entitled to impoundment

and destruction of infringing articles.

                        COUNT V
       FLORIDA COMMON LAW TRADEMARK INFRINGEMENT

      104. Condé Nast hereby realleges and incorporates by reference the

allegations of paragraphs 1 to 67 of this Complaint as if fully set forth herein.

      105. Condé Nast first adopted and used the GQ Marks as a means of

establishing goodwill and reputation and to describe, identify or denominate

particular goods and services rendered or offered by it and to distinguish them from

similar goods and services rendered or offered by others.

      106. The GQ Marks are valid and protectable marks by virtue of its

association with such goods and services and Condé Nast’s Federal Registrations.

      107. GQ Fashions has commenced the use of an identical or confusingly

similar mark to indicate or identify closely related services.

      108. As a result, use of GQ Fashions’ Infringing Marks at the same time as

Condé Nast’s GQ Marks is likely to cause consumer confusion as to the source or as

to the sponsorship of the services or goods offered or to be offered.


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      109. GQ Fashions’ use of Condé Nast’s GQ Marks is without the consent of

Condé Nast.

      110. GQ Fashions has acted with the knowledge of Condé Nast’s GQ Marks,

and with the intent to cause confusion and/or trade on Condé Nast’s reputation and

goodwill.

      111. The use by GQ Fashions of the Infringing Marks and marks

incorporating GQ to identify its services, as described above, constitutes

infringement of Condé Nast’s rights in its GQ Marks pursuant to the common

law of the State of Florida, for which infringement Condé Nast is entitled to all

remedies available to it under the common law of the State of Florida.

                        COUNT VI
       FLORIDA TRADEMARK AND SERVICE MARK DILUTION
      112. Condé Nast hereby realleges and incorporates by reference the

allegations of paragraphs 1 to 67 of this Complaint as if fully set forth herein.

      113. The GQ Marks are distinctive and famous marks in the State of Florida

within the meaning of Fla. Stat. § 495.151 by virtue of the high degree of inherent

and acquired distinctiveness of the GQ Marks in this State; the long duration and

wide extent of use of the GQ Marks in connection with the goods and services with

which the GQ Marks are used; the long duration and wide extent of advertising and

publicity of the GQ Marks in this State; the wide geographic extent of the trading

area in which the GQ Marks is used; the high degree of recognition of the GQ


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Marks in this State in Condé Nast and GQ Fashions’ channels of trade; and the

longstanding federal registrations of the GQ Marks.

       114. Condé Nast has used its GQ Mark extensively throughout this State and

this District for over fifty (50) years.

       115. GQ Fashions’ use of Condé Nast’s GQ Marks, or variants thereof

similar to or likely to cause confusion with the GQ Marks, has been used in

commerce for GQ Fashions’ commercial gain.

       116. Even if the Court finds GQ Fashions’ use of the Infringing Marks is not

likely to cause confusion with Condé Nast’s GQ Marks, GQ Fashions has engaged

in dilution by blurring because GQ Fashions’ use of the GQ Marks, or variants

thereof similar to or likely to cause confusion with the GQ Marks, has already caused

or is likely to cause an association arising from the similarity between GQ Fashions’

Infringing Marks and Condé Nast’s GQ Marks that impairs the actual or acquired

distinctiveness of Condé Nast’s GQ Marks.

       117. GQ Fashions has engaged in dilution by tarnishment because GQ

Fashions use of the GQ Marks, or variants thereof similar to or likely to cause

confusion with the GQ Marks, has already caused or is likely to cause an association

arising from the similarity between GQ Fashions’ infringing use and Condé Nast’s

GQ Marks that harms the reputation and goodwill associated with Condé Nast’s GQ

Marks.



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      118. GQ Fashions adopted “GQ” well after the GQ Marks became famous.

      119. The dominant portion of the Infringing Marks is “GQ,” which is

identical to the GQ Mark.

      120. GQ Fashions uses the Infringing Marks in commerce. Such use is

commercial in nature.

      121. GQ Fashions’ use of the Infringing Marks in connection with its brick-

and-mortar and online retail store and associated services has caused, or is likely to

cause, dilution of Condé Nast’s GQ Marks. It is likely that the ordinary consuming

public in Florida and the Orlando area will make an association arising from the

similarity of the marks that impairs the distinctiveness of the GQ Marks.

      122. GQ Fashions willfully intended to trade on the recognition of Condé

Nast and its famous GQ Marks.

      123. GQ Fashions’ acts have caused Condé Nast damages, and Condé Nast

is entitled to injunctive relief and all other available statutory remedies under Fla.

Stat. § 495.151, including, without limitation: GQ Fashions’ profits made by GQ

Fashions through its unlawful acts; damages sustained by Condé Nast; for all costs

necessary to remediate the unlawful acts and their effects; and for the costs,

expenses, and attorney fees (as this is an exceptional case) incurred in bringing the

present action and prior attempts to remedy GQ Fashions’ actions.




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      124. Condé Nast further seeks judgment for three times the amount of GQ

Fashions’ profits or Condé Nast’s damages, whichever is greater, due to the nature

of GQ Fashions’ conduct pursuant to Fla. Stat. §§ 495.151(2) and 495.141.

      125. Pursuant to Fla. Stat. § 495.151(2) and equity, Condé Nast is entitled to

preliminary and permanent injunctive relief against GQ Fashions to stop the illegal

conduct.

      126. Pursuant to Fla. Stat. §§ 495.151(2) and 495.141(1), Condé Nast is

entitled to impoundment and destruction of infringing articles.

                              COUNT VII
                   VIOLATION OF FLORIDA DECEPTIVE
                   AND UNFAIR TRADE PRACTICES ACT
      127. Condé Nast hereby realleges and incorporates by reference the

allegations of paragraphs 1 to 67 and Counts I to VI of this Complaint as if fully set

forth herein.

      128. As alleged herein, GQ Fashions’ violations of the Lanham Act and

Florida state and common law, including trademark infringement, unfair

competition, false association and false designation of origin, and dilution, constitute

unfair methods of competition and unfair acts or practices in the conduct of trade or

commerce, in violation of Fla. Stat. § 501.204, entitling Condé Nast to all remedies

available, including damages and reasonable attorneys’ fees and costs.




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        129. GQ Fashions’ violations of the Lanham Act and Florida state and

common law, including trademark infringement, unfair competition, false

association and false designation of origin, and dilution, were known by GQ

Fashions to be deceptive and misleading, or through the exercise of reasonable care

or investigation could or might have been ascertained to be deceptive and

misleading.

        130. GQ Fashions’ deceptive and unfair trade practices were conducted with

the intent to induce others to rely upon such deceptive and unfair acts and act on

them.

        131. GQ Fashions’ deceptive and unfair trade practices were conducted for

the purpose of selling or disposing of personal property or services, including,

without limitation, men’s and women’s apparel through brick-and-mortar and online

retail stores and related goods and services, or to induce the public to enter into

obligations relating to such property or services.

        132. GQ Fashions’ conduct has misled the consuming public concerning the

nature, characteristics, and quality of GQ Fashions’ goods and services, to the

consuming public’s detriment and the detriment of Condé Nast’s legitimate business

enterprise.

        133. Such deceptive and unfair acts offend public policy and are immoral,

unethical, oppressive, unscrupulous, or substantially injurious to consumers.



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      134. GQ Fashions’ actions violate standards of unfairness and deception as

set forth and interpreted by federal courts and/or violate 15 U.S.C. §§ 1114, 1125(a)

and 1125(c), and Fla. Stat. § 495.151, all of which proscribe unfair methods of

competition, or unfair, deceptive, or unconscionable acts or practices.

      135. By these actions, GQ Fashions has engaged and continues to engage in

unfair or deceptive acts and practices in violation of the Florida Deceptive and Unfair

Trade Practices Act, Fla. Stat. § 501.201 et seq. As a result, Condé Nast has suffered,

and will continue to suffer, damage to its business, reputation, and goodwill.

      136. Condé Nast has suffered actual damages as a direct and proximate result

of GQ Fashions’ wrongful, deceptive and unfair trade practices.

      137. GQ Fashions’ deceptive and unfair trade practices are causing and will

continue to cause Condé Nast to suffer irreparable harm, for which Condé Nast has

no adequate remedy at law.

      138. Condé Nast is entitled to injunctive relief and all other available

statutory remedies, including, but not limited to, Condé Nast’s damages; GQ

Fashions’ profits; and attorney fees and costs pursuant to Fla. Stat. §§ 501.2105 and

501.211.

      139. Further, Condé Nast is entitled to injunctive relief against GQ Fashions

to stop the illegal conduct.




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                               COUNT VIII
                      FLORIDA UNFAIR COMPETITION

      140. Condé Nast hereby realleges and incorporates by reference the

allegations of paragraphs 1 to 67 and Counts I to VII of this Complaint as if fully set

forth herein.

      141. As alleged herein, GQ Fashions has engaged in deceptive or fraudulent

conduct, which is likely to cause, if it has not already, customer confusion in

violation of Florida common law.

      142. GQ Fashions’ actions, as described above, constitute unfair competition

under the common law of the State of Florida, in that GQ Fashions’ actions constitute

Federal Trademark Infringement under the Lanham Act, False Association, False

Designation of Origin, and Unfair Competition and Passing Off under the Lanham

Act, Dilution under the Lanham Act, Dilution under Florida statutory law, Florida

common law trademark infringement and violation of the Florida Deceptive and

Unfair Trade Practices Act, entitling Condé Nast to all remedies available under

Florida law for such unfair competition.

      143. GQ Fashions’ actions are likely to cause consumers to believe that GQ

Fashions’ services originate from the same source as, or are sponsored or approved

by Condé Nast, or that there is an association, affiliation, or connection between GQ

Fashions and Condé Nast.




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      144. Through GQ Fashions’ unauthorized use of the GQ Marks in

connection with GQ Fashions’ goods and services in commerce, GQ Fashions has

committed trademark infringement, passing off, palming off, imitating, and/or unfair

or deceptive practices that are causing or are likely to cause confusion or deception.

      145. GQ Fashions has used in connection with its goods and services a false

designation of origin, or a false or misleading description and representation of fact,

which is likely to cause confusion, and to cause mistake, and to deceive as to the

affiliation, connection, or association of GQ Fashions with Condé Nast, and to

deceive as to the source, sponsorship, approval, or certification of GQ Fashions’

goods or services by Condé Nast.

      146. GQ Fashions’ acts as alleged herein were committed with the intent to

deceive and defraud the public in order to gain an increase in its sales, customer

base, and share in the apparel and retail industry.

      147. GQ Fashions is liable to Condé Nast for unfair competition under

Florida law, because GQ Fashions conduct is tortious and has deprived Condé Nast

of customers and other prospects.

      148. GQ Fashions’ acts as alleged herein constitute unfair, deceptive, or

misleading acts in violation of Florida law. GQ Fashions’ acts of unfair competition

have caused Condé Nast damages, and Condé Nast seeks judgment for GQ Fashions’

profits made by GQ Fashions’ unfair competition, for the damages sustained by



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Condé Nast, for all costs necessary to remediate the unfair competition and their

effects, and for the costs incurred in bringing the present action and prior attempts

to remedy GQ Fashions’ actions.

      149. Condé Nast further seeks judgment for punitive damages of at least

three times the amount of GQ Fashions’ profits or Condé Nast’s damages, whichever

is greater, due to the nature of GQ Fashions’ conduct.

      150. Further, Condé Nast is entitled to preliminary and permanent injunctive

relief against GQ Fashions to stop the illegal conduct.

                             PRAYER FOR RELIEF
      WHEREFORE, Condé Nast respectfully demands a jury trial, and prays

for the following relief against GQ Fashions:

      1.     That the Court enter a judgment in favor of Condé Nast and against GQ

Fashions as to all causes of action alleged herein.

      2.     That GQ Fashions and its officers, directors, agents, servants,

employees, and all persons in active concert and participation with them, be

permanently enjoined from directly or indirectly using Condé Nast’s GQ Marks, or

any other mark that is similar in appearance to Condé Nast’s GQ Marks as part of

any trademark, service mark, trade name, corporate name, or assumed name; or on

the Internet in any domain name, title, description, keyword, source code, tag,

banner, link, and any other use for the purpose of directing Internet traffic; or in



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social media; or in any other manner in connection with business, products, or

services within the U.S.

      3.    That GQ Fashions be ordered to deliver up for destruction all products,

literature, signs, labels, tags, prints, packages, wrappers, containers, fabrics,

advertising materials, stationery, and any other items in GQ Fashions’ possession

or control that bear Condé Nast’s GQ Marks, or any other mark that is similar

to Condé Nast’s GQ Marks, and that GQ Fashions be ordered to deliver up for

destruction all plates, molds, matrices, masters, and other means of producing or

applying the prohibited marks.

      4.    That GQ Fashions be ordered to transfer ownership of any domain

names incorporating the GQ Marks to Condé Nast.

      5.    That GQ Fashions be ordered to file with the Court and serve on Condé

Nast, within 30 days after the entry of an injunction, a report in writing under

oath setting forth in detail the manner and form in which GQ Fashions has

complied with the injunction.

      6.    That GQ Fashions be required to pay and account to Condé Nast for

any and all benefits or profits derived by GQ Fashions from the use of Condé Nast’s

GQ Marks and any name or mark incorporating any mark, word, designation, name,

or domain name that is confusingly similar to the GQ Marks, including the sale of

any and all products or services associated with any such name or mark, and for all



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damages sustained by Condé Nast by reason of said acts of unfair competition, false

designation of origin, and/or other illegal acts complained of herein to the full extent

permitted by 15 U.S.C. §§ 1117 and 1125, and Florida statutory and common law.

        7.    That in accordance with the Lanham Act and Florida statutory and

common law, Condé Nast be awarded punitive and/or treble damages in an amount

no less than three times the amount of GQ Fashions’ profits or Condé Nast’s

damages, whichever is greater, increased subject to the principles of equity, due to

the wanton, egregious, willful, deliberate, intentional, and/or malicious nature of its

actions.

        8.    That the costs of this action be awarded to Condé Nast.

        9.    That Condé Nast be awarded its reasonable attorney fees due to the

exceptional nature of this case and GQ Fashions’ intentional, wanton and willful

illegal conduct.

        10.   That GQ Fashions be liable for any award of monetary damages, treble

damages, punitive damages, costs, and/or attorney fees.

        11.   That pre-judgment and post-judgment interest be awarded to Condé

Nast.

        12.   That Condé Nast have such other and further relief, including without

limitation equitable relief, as the Court deems just and proper.




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                        DEMAND FOR JURY TRIAL
      Condé Nast demands a trial by jury.



Dated: April 14, 2021                Respectfully submitted,

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